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AO 91 (Rev. | l/l l) Criminal Complaint

 

UNITED STATES DlsTRICT COURT

for the
Northem District of New York

UNITED STATES OF AMERICA )
v. )
) ease No. 6'; ;3~ m;' 5‘3\ (/m'ej
)
KEITH E. HOOK )
)
)
Defendant )
CRIMINAL COMPLAINT

l, the complainant in this case, state that the following is true to the best of my knowledge and belief. On
or about the date(s) of April 30, 2018 through May 4, 2018 in the county of Oswego in the Northem District of
New York the defendant violated:

Code Section Oj?:nse Description
18 U.S.C. § 2252A(a)(2)(A) Distribution of Child Pomography

This criminal complaint is based on these facts:
See attachment

E Continued on the attached sheet.

 

Complainant 's signature
Brad Brechler, SA HSI

 

Printed name and title

Sworn to before me and signed in my presence.
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Judge' s slignature
City and State: Syracuse, NY l-Ion. Andrew T. Baxter, U.S. Magistrate Judge

 

Printed name and title

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Brad Brechler, a Special Agent (SA) with Homeland Security lnvestigations (HSI), being
duly swom, depose and state as follows:

l. I have been employed as a Special Agent of I-ISI since October 2009 and am
currently assigned to the Syracuse Resident Agent in Charge. While employed by l-ISI, l have
investigated federal criminal violations related to cyber-crime, child exploitation, and child
pornography. l have gained experience through training by HSI and everyday work relating to
conducting these types of investigations I have also been the Affiant for and participated in the
execution of several federal search warrants in child sexual exploitation investigations

2. I am an investigative or law enforcement officer of the United States within the
meaning of Title 18 United States Code, Section 2510(7), that is, an officer of the United States
who is empowered by law to conduct investigations of and to make arrests for offenses enumerated
in Title 18, United States Code, Section 2516(1). As a Special Agent, I am authorized to seek and
execute federal arrest and search warrants for Title 18 criminal offenses, including offenses related
to the sexual exploitation of minors, specifically those involving the possession, transportation and
distribution of child pornography in violation of Title l8, United States Code, Section 2252A.

3. This affidavit is made in support of a criminal complaint charging Keith E. Hook
with violation of Title l8, United States Code, Section 2252A(a)(2)(A); (distribution of child

pornography).

4. The statements in this affidavit are based in part on information provided by HSI
Buffalo SA Nicholas Melchiorre and other HSI agents, and my investigation of this matter. Since

this affidavit is being submitted for the limited purpose of securing a criminal complaint, I have

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not included each and every fact known to me concerning this investigation l have set forth only
the facts that I believe are necessary to establish probable cause to believe that Keith E. Hook has
violated Title 18, United States Code, Section 2252A(a)(2)(A);

Kik Messenger Agglication

5. The Kik Messenger application is primarily a social media mobile device platform
designed and managed by Kik Interactive Incorporated, a Water|oo, Canada based company, for
the purpose of mobile messaging and communication To use this application, a user downloads
the mobile messaging application via an applications service such as the Goog|e P|ay Store, Apple
iTunes, or other similar mobile application provider. Once downloaded and installed, the user is
prompted to create an account and a usemame. This usemame will be the primary account
identitier. The user also has a display name, which will be what other users initially see when
transmitting messages back and forth. As part of the account creation process, Kik users are asked
to supply a valid email address, create a password, provide an optional date of birth, and user
location. The user also has the option of uploading a “profrle avatar” that is seen by other users.
Once the Kik user has created an account; the user is able to locate other users via a search feature.
The search feature usually requires the user to know the intended recipient’s usemame. Once
another user is located or identified, Kik users can send messages, images, and videos between the
two parties.

6. Kik Messenger also allows users to create chat rooms, of up to 50 people, for the
purpose of communicating and exchanging images and videos. These rooms are administered by
the creator who has the authority to ban and remove other users from the created room. According
to Kik Messenger, more than 40% of the Kik users chat in “groups” and approximately 300,000

new groups are created every day. These groups are frequently created with a “hashtag” allowing

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the group or chat to be identified more easily. Once the group or chat is created Kik users have
the option of sharing the “link” with all of their contacts or anyone they wish.

7. Kik Messenger users frequently advertise their Kik usemames on various social
networking sites in order to meet and connect with other users. In some cases, Kik also provides
various avenues, such as dating sites and social media applications, for meeting other users. HSl
undercover agents observed, in various chats, that many of the users stated they felt safe using Kik
Messenger as a means of trading child pornography and for other illegal activities due to the fact
that "Kik is a Canadian based company and not subject to the same United States laws." HSI
undercover agents have noted messages posted in Kik Messenger chat rooms relating to the
enforcement, deletion, or banning of users and rooms by Kik Messenger for the purpose of
exchanging or distributing child pomography. HSI agents noted the comments to include the
continued creation of new rooms and new user accounts to circumvent Kik Messenger’s
enforcement efforts.

BACKGROUND OF THE INVESTIGATION
UNDERCOVER CHATS WITH Capnhook1064

8. On April 30, 2018, Homeland Security lnvestigations (HSI) Buffalo Special Agent
(SA) Nicholas Melchiorre was conducting online undercover operations on the chat platform
AntiChat.' AntiChat user “Capn” sent SA Melchiorre’s undercover persona (hereinafter UC) a
private message asking, “are you gay/bi/straight?” During the ensuing conversation the “Capn”
user identified himself as being from Syracuse and asked the UC if he had a daughter, to which

the UC stated that he had a l2-year-old daughter. “Capn” told the UC that he had fantasies about

 

' AnitChat advertises itself as an anonymous chat platform that does not allow the posting of personal information to
its application SA Melchiorre clicked on user Capn’s profile to identify any information available Capn’s profile
picture is a blue fish. The user name Capn has an image of an anchor at the end of it. User Capn’s profile identified
him as a 50-year-old male.

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having sex with a young daughter. “Capn” then asked the UC if he used the chat application Qik.
The UC stated he did not, but confirmed that he did have a Kik messenger account. “Capn” then
identified his Kik usemame to the UC as “Capnhook1064.”

9. Short|y thereatier SA Melchiorre logged into his undercover Kik account and
continued the conversation with Kik user “Capnhook1064.” SA Melchiorre identified Kik user
Capnhook1064’s screen name as “Capn Hook” with an image of a key next to the “k” in hook.
Capnhook1064’s profile picture is of a blue colored soda/beer can with the Buffalo Bills NFL
football team logo on the side. 'I`he can is sitting on a white object with grass in the background

10. On April 30, 2018, at approximately 9:19 arn, Kik application user Capnhook1064
began a Kik private message (PM) conversation with the UC. 2 During the course of that
conversation Capnhook1064 sent the UC a video file of a prepubescent female approximately 10-
12 years of age standing in what appears to be her bedroom taking a self-made video. The child
starts off wearing a blue tank top, bra, skirt, and underwear. She then takes off the tank top, skirt,
and underwear exposing her vagina. The child then takes off her bra exposing her underdeveloped
breasts. Later in the video the child moves her hands from her waist up to just under her breasts
and then down to her vagina. She then briefly touches her vagina and then moves her hands back
up to her pelvis. Capnhook stated that some guy sent him the video and then asked the UC if his
12 year old daughter was in any of his fantasies. The UC stated that she was and Capnhook
responded “Mm mm that’s hot” and proceeded to ask the UC if his daughter had “ever seen your
hard cock?” When told yes on accident once Capnhook asked if the 12 year old f`reaked out or told

her mom.

 

2 SA Melchiorre observed and preserved the messages, images and videos that Capnhook1064 posted/uploaded to
the UC that contain child pornography and child erotica. Your affiant reviewed these messages, images, and videos
and they contain child pornography and child erotica. They are_ available for the Court’s inspection upon request.
For purposes of this affidavit the Kik conversations are summarized in relevant part.

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l l. On April 30, 2018, at approximately 9:44 pm, Kik application user Capnhook1064
reengaged a private message (PM) conversation with the UC. During the course of that chat
Capnhook1064 asked the UC if his wife knew of his interest in “younger” (referencing minor
children). ARer the UC told the Capnhook1064 user that his wife did not Capnhook1064 indicated
that he also had a wife that did not know of his interest in minor children. Capnhook1064
proceeded to tell the UC that he developed an interest in incestual relationships many years ago,
and that over the years he started to like “younger and younger”. Capnhook1064 then sent the UC
an image of suspected child erotica (identified as IMG_0090). In this image a prepubescent minor
female approximately 6-10 years of age is standing completely nude with a recorder instrument in
her hand. The child is pictured looking down towards an adult female approximately 50-60 years
of age that also appears to be fully nude and sitting behind what appears to be a keyboard.
Immediately to the right of the child is a long mirror on a wall. ln the reflection of the mirror, the
viewer can see a blurred image of a nude adult male sitting on a piece of exercise equipment
looking towards the child and adult female. The child’s nude back and buttocks are reflected in
the mirror.

12. Shortly after sending the above referenced image Capnhook1064 asked the UC if
he has any images of his daughter. In response to this request the UC sent Capnhook1064 an
image of an age-reduced female law enforcement officer fully clothed sitting on a bed which he
identified as his purported lZ-year-old daughter. Capnhook1064 responded that the UC’s daughter
is beautiful.

13. Capnhook1064 then asked the UC “how young would you go?” The UC stated 10-
l l years of age. ln response, Capnhook1064 said that is as young as he would go too, but stated

that he has chatted with people where the ages they discussed “went extremely young.” The UC

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asked Capnhook1064 to share one of these conversations Capnhook1064 told the UC of a time in
which he spoke to a girl about a fantasy he has in which a mother would perform oral sex on him
while she is breastfeeding her child, and when he climaxed his semen would slide down the
mother’s breast and into the mouth of her breastfeeding daughter.

14. Later on during the chat session Capnhook1064 told the UC that he lived in Oswego
County and asked the UC if he had ever seen “young pom.” The UC stated that he had seen young
nudes before but not engaging in sex. The user of Capnhook1064 then sent the UC a 27 second
video (identified as IMG_0102.MP4) of suspected child erotica. In this video, a prepubescent
female approximately 8-12 years of age can be seen during the course of the video fully disrobing.
Shortly thereafter Capnhook1064 asked the UC if he wanted to see two young boys. The UC
responded, “Ummmm sure” and the Capnhook1064 user sent a 1 minute 24 second video
(identified as IMG_0104.MP4) depicting a minor male approximately 10-13 years of age
performing oral sex on what appears to be an adult male. Capnhook1064 then asked the UC what
he thought, to which the UC responded that it wasn’t really his thing but still had to see for the
first time. Capnhook1064 agreed responding that he wished it was a “lil girl doing that”.

15. On May l, 2018, the UC accessed his undercover Kik account at approximately
9:20 am and saw that the Capnhook1064 user had sent him a video of suspected child pornography
at 11:39 pm on April 30, 2018. The video (identified as IMG_0115.MP4) is l minute 23 seconds
in length and depicts a young female child approximately 3-6 years of age performing oral sex on
an adult male’s penis.

16. On May 2, 2018, at l 1220 am Capnhook1064 initiated a PM conversation with the
UC. Shortly after the conversation began, Capnhook1064 asked the UC about his daughter. The

UC stated that she had the flu and the Capnhook1064 user asked if he wanted Capnhook1064 to

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check on his daughter and see if she “needs anything”. Later Capnhook1064 asked the UC if he
used the application “Wickr3,” to which the UC told Capnhook1064 he did not. Capnhook1064
told the UC that he also doesn’t mess around with “that` deep web stuff`.” The Capnhook1064 user
also identified himself as 50 years old and asked the UC how old he was. Later the same night,
the UC and Capnhook1064 again engaged in a PM conversation via Kik. Capnhook1064 again
asked the UC about his daughter and when he was told she was feeling better responded “That’s
good to hear...let my fantasies resume!!!”

17. On May 3, 2018, at approximately 10:37 am, Capnhook1064 initiated a PM
conversation with the UC. Capnhook1064 stated that he didn’t find a “darn thing” [child
pomography] last night and later sent the UC an image of suspected child erotica (identified as
IMG_0165). 'l`he image depicts three minor females (ranging in age from approximately 3 to 8
years old) sitting completely nude in a sauna. 'l`he way the minor females are sitting, no genitalia
or breasts are exposed. Capnhook1064 captioned the image, “All of a sudden I like saunas."
Shortly thereafter, the Capnhook1064 user sent the UC an image of suspected child erotica
(identified as IMG_0170). In this image, a minor female and a second female (age difficult) are
centered in the foreground completely nude standing on a beach with their arms around each other
smiling. The minor female, approximately 10-13 years of age, is standing on the right with her
vagina and underdeveloped breasts exposed. The image appears to have been taken at a nude beach

and the Capnhook1064 user has captioned it “All of a sudden I wish 1 was at the beach.”

 

3 Wickr instant messaging apps allow users to exchange end-to-end encrypted and content-
expiring messages. including photos_. videos, and file attachments and place end-to-end
encrypted video conference calls. The sofiware is available for the iOS, Android, Mac,
Windows, and Linux operating systems. 'I`he software is ofien used by individuals who trade CP
because of its enhanced security f`eatures.

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18. On May 3, 2018, at approximately l.0:55 pm the UC sent Capnhook1064 an image
of what he claimed was his 12 year old daughter’s pink leotard lying on the floor as a thank you
for sending the child erotica/child pornography images and videos. Capnhook1064 responded to
the image, “Would love to see her in it...hopefully we can chat tomorrow.”

19. On May 4, 2018, at approximately 11:05 am, Capnhook1064 initiated a private
message conversation with the UC via Kik stating, “l-Iappy Friday!” and sending the UC an image
of suspected child pornography (identified as IMG_0183). The image depicts what appears to be
a minor child (gender hard to determine as the face is cropped only to show from the nose to the
chin) approximately 6-12 years of age holding an adult male penis that is ejacu|ating into the
minor’s open mouth. The UC stated the image appeared to be homemade, to which the
Capnhook1064 user agreed. Capnhook1064 then sent a link to a flickr account posting that when
accessed depicted a female child approximately 2-4 years of age with a white substance pouring
from her open mouth. Later that day at 6:30 pm, Capnhook1064 asked the UC if he was horne with
his daughter. When the UC stated that he was not, the Capnhook1064 user ended the conversation.

IP ADDRESS SUBSCRIBER INFO RELATED TO HOOK

 

20. On April 30, 2018, SA Nicholas Melchiorre sent a DHS Summons to Kik
Interactive, Inc. for subscriber information related to user “Capnhook1064” (display name Capn
I-look:key:). Kik Interactive, lnc. complied with the legal process and provided the following
account infonnation:

First name: Capn

Last name: Hook:key:
Email: capnhook1064@yahoo.com

Username: capnhook1064

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Registration Timestamp: 2014/12/30 19:06:06 UTC

User location 5/1/2018 at 04:22:06 UTC - IP 65.1 10.151.217
Kik also provided IP address connection logs for "Capnhook1064" for the timeframe of April 2,
2018 to May l, 2018, Based on an analysis of the lP address connection logs provided by Kik, the
following three IP addresses were used by “Capnhook1064”:

a. 65.110.151.217 Which was identified as belonging to Windstream
Communications, Inc.

b. 184.13.119.2 which was identified as belonging to Frontier Communications of
America, Inc.

c. 24.213.129.66 which was identified as belonging to Charter Communications, lnc.

21. On May 3, 2018, SA Melchiorre issued DHS administrative summonses to
Windstream Communications, lnc., Frontier Communications of America, lnc. and Charter
Communications, lnc. for subscriber information related to their respective IP addresses used by
Kik user Capnhook1064.

a. For IP address 65.110.151.217 Windstream Communications, lnc. provided the

following account information:

Name: Keith Hook

Account Address: Keith Hook’s home address in Oswego, NY
Length of Service: 11/16/2007 to present

Phone Numbers: 315-342-3526

Email: kcsahk@earthlink.net

b. For IP address 184.13.119.2 Frontier Communications provided the following account
information:

Customer name: Hampton Inn

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Account Address: 157 Pimlico Dr, Charles Town, WV 23438

Billing Address: 8191 Strawberry Lane, Ste 3, Falls Church, VA 22042

'l`elephone number: 304-725-2200
Length of service: 5/5/201 l - present
Type of service: Business intemet and telephone

c. For lP Address 24.213.129.66 Charter Communications provided the following account

information:
Account: 746677702
Account: Port of Oswego Authority d/b/a Oswego Marina
Address: 3 Basin Street, Oswego, NY 13126
Billing address: l East 2nd Street, Oswego, NY 13126
Phone: 315-343-4503
22. Your affiant’s analysis of the Kik provided IP address connection logs reveal the

following:

a. On April 30, 2018 from approximately 9:06 am to 9:19 am “Capnhook1064” used IP

address

65.110.151.217 (registered to Keith Hook’s home address), when

uploading/sending the child pornography video described in paragraph 10.

b. On April 30, 2018 from 9:43 pm to 12:22 am on May l, 2018, “Capnhook1064” used
IP address 65.110.151.217 (registered to Keith Hook’s horne address), when
uploading/sending the child pornography videos IMG_0104.mp4 described in paragraph
14 and IMG_0115.mp4 described in paragraph 15.

PUBLIC RECORDS & LAW ENFORCEMENT RECOR]_)S RELATED TO HOOK

23.

Law enforcement record checks revealed that Keith E. Hook, is currently a United

States Border Patrol Agent employed out of the Oswego, NY Border Patrol station.

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24. On June ll, 2018, your affiant served a DHS Summons to Hampton Inn, 157
Pimlico Dr., Charles Town, WV 23438 regarding any hotel reservations or stays regarding Keith
Hook. On June 12, 2018, your affiant received the following information: Keith E. Hook, using
the address identified as I-look’s home address in Oswego, NY, checked-in to the Hampton Inn on
April 3, 2018 at approximately 4:01 pm and departed April 7, 2017 at approximately 8:07 am.
Hook stayed in room 327. Analysis of the Kik provided IP address connection logs for
Capnhook1064 show that between April 3, 2018 at 8:10 pm and April 7, 2018 12:18 am the only
IP address that connected to Kik user name Capnhook1064 was lP address 184.13.1 19.2 belonging
to the l-lampton Inn in West Virginia. This lP address connected seventy-three times during the
above-mentioned time frame.

25. On June 11, 2018, your affiant received Oswego Border Patrol work schedules for
Keith Hook from April l, 2018 to Present. Border Patrol work schedules show that on April 3rd
and 7th, 2018 Hook was in a travel status, while on April 4-6, 2018 Hook was in training at the
U.S. Customs and Border Protection Advanced Training facility which is located less than 5 miles
from the Hampton Inn.

26. A review of the Oswego Border Patrol work schedules and Kik provided IP address
connection logs between April 2, 2018 and May l, 2018 show that Hook was on shift as a Border
Patrol Agent on every occasion that lP address 24.213.129.66, belonging to the account of Port of
Oswego Authority d/b/a Oswego Marina, was used to access Kik messenger user name
“Capnhook1064”. The IP address was used on six (6) different days between April ll, 2018 and

April 28, 2018.

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SEARCH WARRRANT AND INTERVIEW

27. On July 2, 2018, law enforcement officers executed a federal search warrant at the
residence of Keith Hook in Oswego, NY. During the course of the execution of this search warrant,
Hook agreed to be interviewed During the interview, Hook admitted to I-ISI Special Agent Lon
Ziankoski, that he was the sole user of the Kik account “Capnhook1064” and that he had been
using that Kik account to receive child pomography from other Kik users in various chat groups
for 3 to 4 years. He further admitted to then sharing the child pornography images and videos he
received with other Kik users.

28. Hook signed a written statement admitting to receiving and distributing child
pornography using the Kik app both at home and while at work. According to Hook, these images
and videos include a wide age of children including toddlers.

29. Agent Ziankoski presented to Hook, screen shots of the chat sessions, referenced
above. Hook admitted that he recognized the chats and recalled sharing the following child
pornography video files:

A video identified as IMG_0115.MP4 which is 1 minute 23 seconds in length and depicts

a young female child approximately 3-6 years of age performing oral sex on an adult male’s

penrs.

An image identified as a 1 minute 24 second video (identified as IMG_0104.MP4)

depicting a minor male approximately 10-13 years of age performing oral sex on what

appears to be an adult male.

30. A limited forensic preview of an iPod Hook identified as belonging to him revealed
that the Kik messenger application was installed on the device. The forensic preview also revealed
34 identifiable child pornography image files and 2 identifiable child pornography video files.

Those files include:

a) Image File: 5bc25a9c-6b82-4093-acd0-598e50588c09_embedded_l .jpg: This
image depicts an 8 to 10 year old female being anally raped.

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b) Image File: 51add6e8-d5e0-4fcf-bf4ec46cOf9c2lde_embedded_l .jpg: This image
depicts a female toddler being raped.

c) Image File: 3b706aac~d94c-4a5f-a4ff-73dfd1775a7b_embedded_l .jpg: This image
depicts a screen shot from the video Hook sent to the UC where a young female
child approximately 3-6 years of age is performing oral sex on an adult male’s
penis.

d) Video File: 5bc25a9c-6b82-4093-acd0-598e5c588c09_embedded_l .jpg: This 44
second video depicts an 8 to 10 year old female being anally raped.

CONCLUSION
31. Based on the foregoing information, there is probable cause to conclude that Keith
E. Hook has knowingly distributed child pornography using a means and facility of interstate and
foreign commerce, and in and affecting such commerce, that is, through Kik messenger sharing,

in violation of Title 18, United States Code, Section 2252A(a)(2)(A).

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Brad Brechler, Sp\€cial Agent
Homeland Security lnvestigations
Department of Homeland Security

Swom and subscribed before me
this 2nd day of July, 2018,

harass

HoN. `ANDREW T. BAXTF.'R
uNlTED sTATEs MAGlsTRATE JUDGE

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